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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       Case No. 1:21-cr-00581-TFH
        v.                                   :
                                             :
JACOB KYLE WIEDRICH,                         :
                                             :
                Defendant.                   :

                    GOVERNMENT’S SENTENCING MEMORANDUM

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Jacob Wiedrich (“Wiedrich”) to three-months incarceration, three years’ probation,

and $500 restitution.

   I.        A Sentence Imposed for a Violation of 40 U.S.C. § 5104(e)(2)(G) May Include
             Both Incarceration and Probation

        Under 18 U.S.C. § 3561, a defendant “may be sentenced to a term of probation unless . . .

the defendant is sentenced at the same time to a term of imprisonment for the same or a different

offense that is not a petty offense.” 18 U.S.C. § 3561(a)(3). Section 3561(a)(3) thus states the

general rule that “imposition of both probation and straight imprisonment” in the same sentencing

hearing is not permitted. United States v. Forbes, 172 F.3d 675, 676 (9th Cir. 1999); see United

States v. Harris, 611 F. App’x 480, 481 (9th Cir. 2015); United States v. Anderson, 787 F. Supp.

537, 539 (D. Md. 1992).

        This general prohibition against sentences that combine continuous incarceration and

probation does not apply, however, where the defendant is sentenced for a petty offense. See 18

U.S.C. § 3561(a)(3); United States v. Posley, 351 F. App’x 801, 809 (4th Cir. 2009). In Posley,

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the defendant, convicted of a petty offense, was sentenced to two years of probation with the first

six months in prison. Posley, 351 F. App’x at 808. In affirming that sentence, the Fourth Circuit

concluded that Section 3651(a)(3) “[u]nquestionably” provided statutory authority to sentence the

petty-offense defendant to “a term of six months of continuous imprisonment plus probation.” Id.

at 809. Permitting a combined sentence of continuous incarceration and probation for petty

offenses is sensible because sentencing courts cannot impose supervised release on petty-offense

defendants. See 18 U.S.C. § 3583(b)(3); United States v. Jourdain, 26 F.3d 127, 1994 WL 209914,

at *1 (8th Cir. 1994) (unpublished) (plain error to impose a term of supervised release for a petty

offense). It follows that a sentencing court may impose a combined sentence of incarceration and

probation where, as here, the defendant is convicted of a petty offense.

         Additionally, on Friday January 7, 2021, Judge Colleen Kollar-Kotelly sentenced a Capitol

breach defendant convicted under 40 U.S.C. § 5104(e)(2)(G) to “the custody of the Bureau of

Prisons for a term of 90 days” followed by a term of “36 months of probation.” See United States

v. Virginia Marie Spencer, ECF Docket No 1:21-cr-00147-CKK-2, trans. 46:25.

   II.      Introduction

         The defendant, Jacob Wiedrich, participated in the January 6, 2021 attack on the United

States Capitol—a violent attack that forced an interruption of the certification of the 2020 Electoral

College vote count, threatened the peaceful transfer of power after the 2020 Presidential election,

injured more than one hundred law enforcement officers, and resulted in more than one million

dollars’ of property damage.

         Wiedrich pleaded guilty to one count of 40 U.S.C. § 5104(e)(2)(G): Parading,

Demonstrating, or Picketing in the Capitol Building. As explained herein, the government’s

recommended sentence is appropriate in this case because: (1) Wiedrich screamed and cheered



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while the forward line of the rioters broke through the police line; (2) he was one of the first in a

crowd that pushed its way inside the Senate Wing doors which were being guarded by the police;

(3) he posted videos he took of the Capitol breach to Facebook; (4) he traversed almost the entire

length of the U.S. Capitol, exiting at the doors at the south end of the building; (5) his statements

on Facebook after January 6 revealed a lack of remorse; (6) he actively spread false information

on social media by downplaying the violence on January 6; (7) he lied to FBI agents about what

he saw and heard during his participation in the riot; and (8) he stole a United States flag from the

Capitol building which the FBI recovered from his home.

          The Court must also consider that the defendant’s conduct on January 6, like the conduct

of scores of other defendants, took place in the context of a large and violent riot that relied on

numbers to overwhelm law enforcement, breach the Capitol, and disrupt the proceedings. But for

his actions alongside so many others, the riot likely would have failed to disrupt the certification

vote. See United States v. Matthew Mazzocco, 1:21-cr-00054 (TSC), Tr. 10/4/2021 at 25 (“A mob

isn't a mob without the numbers. The people who were committing those violent acts did so

because they had the safety of numbers.”) (statement of Judge Chutkan at sentencing). Here,

Wiedrich’s participation in a riot that actually succeeded in halting the Congressional certification

combined with his aggressive behavior and actions renders a significant jail sentence both

“sufficient, but not greater than necessary to comply with the purposes of” the federal sentencing

regime in this case. See 18 U.S.C. § 3553(a).

   III.      Factual and Procedural Background

                             The January 6, 2021 Attack on the Capitol

          To avoid exposition, the government refers to the general summary of the attack on the

U.S. Capitol. As this Court knows, a riot cannot occur without rioters, and each rioter’s actions –



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from the most mundane to the most violent – contributed, directly and indirectly, to the violence

and destruction of that day. With that backdrop we turn to the defendant’s conduct and behavior

on January 6.

                Jacob Wiedrich’s Role in the January 6, 2021 Attack on the Capitol

       Jacob Wiedrich traveled to Washington D.C. on January 5, 2021 to participate in the

political rally in support of President Trump, which was scheduled for the following day. Wiedrich

told investigators he traveled alone, having purchased an airline ticket using “stimulus money”

received from the government and having made no advanced reservations. Immediately following

the rally on January 6, 2021, Wiedrich proceeded with a large crowd to the U.S. Capitol building.

On that day, he wore a red “Make America Great Again” baseball hat, dark jacket with an orange

undershirt and blue jeans.

       Upon trespassing onto the Capitol grounds, Wiedrich began recording videos on his phone.

As he made his way toward the Capitol building, Wiedrich recorded a video of himself screaming,

inter alia, the following:

           •    “We’re not giving up!”
           •    “This is America!”
           •    “We’re not done!”
           •    “U.S.A.! U.S.A.! U.S.A.!”
           •    “Been tear gassed, been shot with rubber bullets, the whole fucking nine. Got in my
                eye right now. God damn it. This is America. This is our chance for freedom.”
           •    “This is our house!”
           •    “Charge!”
           •    “Charge the mother fucker!”
           •    “Fuck these guys!”
           •    “We ride for Trump we die for Trump!”

Wiedrich later posted these videos as well as other videos from inside the Capitol building to his

Snapchat account with vanity handle “kingbuddha27”. A still photograph from the video that

Weidrich recorded, provided to the Court as Government’s Exhibit 01 is shown below as Figure A.


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                                            Figure A

       Wiedrich first appeared in CCTV surveillance videos waiving a small American flag

through the window immediately next to the Senate Wing door entrance at around 2:45pm. This

doorway was defended by the police who had grabbed furniture and other items to create a physical

barrier to fix an earlier breach at the same location. While at the window, Wiedrich recorded

himself screaming, “We love the cops! What the fuck?! We’re not socialists!”




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      Figure B: Wiedrich shown yelling at police through window.




       Figure C: Wiedrich shown yelling at police through window




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       Wiedrich was one of the first in a crowd that successfully pushed its way inside the Senate

Wing doors past the officer barricade. The government has not uncovered evidence that he

personally made physical contact with any officer.




                        Figure D: Wiedrich enters the Capitol building.

       Once inside the building, Wiedrich can be seen chanting, shouting, and displaying

enthusiasm. In the video Weidrich took inside the building, he shouts, “This is America!”




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                         Figure E: Wiedrich seen holding up his arms.

       At one point, Wiedrich can be seen near the line of officers who were pressed against the

back wall of the Senate Wing door area.




                                           Figure F

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       Wiedrich is next picked up by CCTV cameras in the Crypt area, where he was holding a

large American flag with decorative gold fringe. Wiedrich stole this flag from its position in the

Capitol somewhere between the Senate Wing doors and the Crypt area.




                                            Figure G




                                            Figure H




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Wiedrich then walked through the Hall of Columns, still holding the flag.




                                            Figure I

       Wiedrich finally left the Capitol building out the South Doors, having walked almost the

entire length of the Capitol building and taken the stolen American flag with him. In total,

Wiedrich spent approximately 20 minutes inside of the Capitol.




                                            Figure J

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       The large American flag with decorative gold fringe Wiedrich stole from the Capitol was

recovered from his room on July 29, 2021 during the execution of a search warrant.




                          Figure K: Chest found in Wiedrich’s room.




                        Figure L: Stolen flag found in Wiedrich’s chest.

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                                          FBI Interview

        When FBI agents knocked on his door on January 16, 2021, Wiedrich voluntarily submitted

to an interview. During that interview, he stated that his intent in going to D.C. was to peacefully

show his support for President Trump. He stated he had no intention of engaging in violent activity

or destroying property.

        When ask whether he witnessed violence at the Capitol, he stated that although there were

police present, there was no resistance to the crowd entering the building and Wiedrich stated he

observed no property damage like window breaking or any violent confrontation with police.

These were clear falsehoods—Wiedrich had in fact claimed in his video posted to Snapchat that

he had been hit with tear gas and rubber bullets as he approached the Capitol Building; he screamed

at police through a broken window; he had observed police erecting barricades with furniture

which his fellow rioters violently pushed past; and he saw physical confrontations between the

rioters and the police as the crowd pushed its way inside the building.

        Wiedrich then stated that he entered the Capitol building only about ten feet past the

entrance before deciding he should not go any further, so he turned around and left. This was

another flagrant falsehood. Wiedrich trekked across the almost the entire length of the building,

and to boot, stole an American flag along the way. Law enforcement officers recovered the flag

from inside Wiedrich’s home while executing a search warrant.

        During the interview, Wiedrich expressed his love for America and stated that he was proud

of his participation in the “rally.”

                                        Social Media Posts

        Shortly after the attack on the Capitol, Wiedrich used Snapchat to publicly spread false

propaganda minimizing the attack—stating, “we broke a few windows”. He compared the attack



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on the Capitol to Black Lives Matters protests, claiming that the latter were far worse than the

former. A still of that Snapchat video, with the text of his comments, is included below as Figure

K and the video itself has been provided to the Court as Exhibit 02.




                                            Figure M

               For those who don’t understand the difference between what we did
               yesterday and Black Lives Matter, let me break it down for you.
               Black Lives Matter burnt up the whole country, looted multiple
               stores, killed people, killed people, all because George Floyd—a
               drug addict who was a life-long felon got killed by a cop. I mean,
               I’m not saying it was justified but, it’s a small reason to go kill
               people—innocent people, cops, kids, women. Compared to what we
               did yesterday was we marched the Capitol, we broke a few windows,
               but the thing is we made a statement that we’re not putting up with
               this fraud in the election of 2020. And they killed a California Vet
               named Ashli Babbitt. She was in the Airforce. But you don’t see us
               murdering cops. You don’t see us burning churches and looting
               stores.

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                                  The Charges and Plea Agreement

         On July 21, 2021, Wiedrich was charged by complaint with violating 18 U.S.C.

§§ 1752(a)(1) and (2) as well as 40 U.S.C. §§ 5104(e)(2)(D) & (G). On July 29, 2021, he was

arrested at his home in Utah. On September 15, 2021, Wiedrich was charged by a one-count

Information with 40 U.S.C. § 5104(e)(2)(G). On October 14, 2021, he pleaded guilty to the

Information. By plea agreement, Wiedrich agreed to pay $500 in restitution to the Architect of the

U.S. Capitol.

   IV.      Statutory Penalties

         The defendant now faces a sentencing on a single count of 40 U.S.C. § 5104(e)(2)(G). As

noted by the plea agreement and the U.S. Probation Office, the defendant faces up to six months

of imprisonment and a fine of up to $5,000. The defendant must also pay restitution under the

terms of his or her plea agreement. See 18 U.S.C. § 3663(a)(3); United States v. Anderson, 545

F.3d 1072, 1078-79 (D.C. Cir. 2008). As this offense is a Class B Misdemeanor, the Sentencing

Guidelines do not apply to it. 18 U.S.C. § 3559; U.S.S.G. §1B1.9.

   V.       Sentencing Factors Under 18 U.S.C. § 3553(a)

         In this misdemeanor case, sentencing is guided by 18 U.S.C. § 3553(a), which identifies

the factors a court must consider in formulating the sentence. Some of those factors include: the

nature and circumstances of the offense, § 3553(a)(1); the history and characteristics of the

defendant, id.; the need for the sentence to reflect the seriousness of the offense and promote

respect for the law, § 3553(a)(2)(A); the need for the sentence to afford adequate deterrence,

§ 3553(a)(2)(B); and the need to avoid unwarranted sentence disparities among defendants with




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similar records who have been found guilty of similar conduct, § 3553(a)(6). In this case, as

described below, all of the Section 3553(a) factors weigh in favor of incarceration.

           A. The Nature and Circumstances of the Offense

       The attack on the U.S. Capitol, on January 6, 2021 is a criminal offense unparalleled in

American history. It represented a grave threat to our democratic norms. Indeed, it was one of the

only times in our history when the building was literally occupied by hostile participants. By its

very nature, the attack defies comparison to other events.

       While each defendant should be sentenced based on their individual conduct, this Court

should note that each person who entered the Capitol on January 6 without authorization did so

under the most extreme of circumstances. As they entered the Capitol, they would—at a

minimum—have crossed through numerous barriers and barricades and heard the throes of a mob.

Depending on the timing and location of their approach, they also may have observed extensive

fighting with law enforcement officials and smelled chemical irritants in the air. No rioter was a

mere tourist that day.

       Additionally, while looking at the defendant’s individual conduct, the Court must assess

such conduct on a spectrum. In determining a fair and just sentence on this spectrum, this Court

should look to a number of critical factors, to include: (1) whether, when, how the defendant

entered the Capitol building; (2) whether the defendant encouraged violence; (3) whether the

defendant encouraged property destruction; (4) the defendant’s reaction to acts of violence or

destruction; (5) whether during or after the riot, the defendant destroyed evidence; (6) the length

of the defendant’s time inside of the building, and exactly where the defendant traveled; (7) the

defendant’s statements in person or on social media; (8) whether the defendant cooperated with,

or ignored commands from law enforcement officials; and (9) whether the defendant demonstrated



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sincere remorse or contrition. While these factors are not exhaustive nor dispositive, they help to

place each defendant on a spectrum as to their fair and just punishment.

       To be clear, had Wiedrich personally engaged in violence or destruction, he would be

facing additional charges and/or penalties associated with that conduct. The absence of violent or

destructive acts on the part of the defendant is therefore not a mitigating factor in misdemeanor

cases, nor does it meaningfully distinguish Wiedrich from most other misdemeanor defendants.

Weidrich’s lack of violence and property destruction is the reason he was charged only with, and

permitted to plead to, a misdemeanor rather than felony.

       On January 6th, Wiedrich trespassed onto the Capitol grounds and encouraged the crowd

to “Charge the mother fucker!” He claimed to have been shot with rubber bullets and been tear

gassed (“the whole fucking nine [yards].”). But he pushed forward, stating, “This is our chance for

freedom.” Wiedrich made it to a broken window and started shouting at officers, waving a small

flag, and standing on the windowsill. Wiedrich then entered the Capitol building through the

Senate Wing doors on the heels of a crowd that was directly confronting and physically pushing

law enforcement officers and their impromptu furniture barriers. Wiedrich shouted, screamed, and

in every way enthusiastically endorsed the violence that was around him. While the government

has not uncovered evidence that Wiedrich destroyed any property, he later stole an American flag

from the Capitol building and took it home to Utah. Wiedrich spent approximately 20 minutes

inside the building and traveled across almost its entire length. Shortly after the riot, Wiedrich took

to social media to minimize the violent conduct he witnessed. He also minimized his conduct and

outright lied to the FBI regarding the extent of his activities during the riot.

       As for remorse or contrition, Wiedrich told the FBI he was proud of his participation in

what happened that day. Wiedrich’s statements on social media during and after the attack



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similarly demonstrate a lack of remorse. In anticipation of sentencing, Wiedrich has written a

statement to the U.S. Capitol Police apologizing for his criminal activity.

        Accordingly, the nature and the circumstances of this offense establish the clear need for a

sentence of incarceration in this matter.

           B. The History and Characteristics of the Defendant

        As set forth in the PSR ¶¶ 26, 29, and 30, Wiedrich’s criminal history consists of juvenile

and traffic offenses. Wiedrich has been compliant with his conditions of pre-trial release in this

case.

           C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
              and Promote Respect for the Law

        The attack on the U.S. Capitol building and grounds was an attack on the rule of law. “The

violence and destruction of property at the U.S. Capitol on January 6 showed a blatant and

appalling disregard for our institutions of government and the orderly administration of the

democratic process.” 1 As with the nature and circumstances of the offense, this factor supports a

sentence of incarceration, as it will in most cases, including misdemeanor cases, arising out of the

January 6 riot. See United States v. Joshua Bustle and Jessica Bustle, 21-cr-238-TFH, Tr. 08/24/21

at 3 (“As to probation, I don't think anyone should start off in these cases with any presumption of

probation. I think the presumption should be that these offenses were an attack on our democracy

and that jail time is usually -- should be expected”) (statement of Judge Hogan).




1
 Federal Bureau of Investigation Director Christopher Wray, Statement before the House
Oversight      and      Reform      Committee       (June     15,     2021),   available          at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20
Testimony.pdf
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            D. The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

         General Deterrence

         The demands of general deterrence weigh in favor of incarceration, as they will for nearly

every case arising out of the violent riot at the Capitol. Indeed, general deterrence may be the most

compelling reason to impose a sentence of incarceration. The violence at the Capitol on January 6

was cultivated to interfere, and did interfere, with one of the most important democratic processes

we have: the peaceful transfer of power to a newly elected President. As noted by Judge Moss

during sentencing in United States v. Paul Hodgkins, 21-cr-188-RDM:

         [D]emocracy requires the cooperation of the governed. When a mob is prepared to
         attack the Capitol to prevent our elected officials from both parties from performing
         their constitutional and statutory duty, democracy is in trouble. The damage that
         [the defendant] and others caused that day goes way beyond the several-hour delay
         in the certification. It is a damage that will persist in this country for decades.

Tr. at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than it was seven

months ago for the United States and our diplomats to convince other nations to pursue democracy.

It means that it will be harder for all of us to convince our children and our grandchildren that

democracy stands as the immutable foundation of this nation.” Id. at 70; see United States v.

Thomas Gallagher, 1:21-CR-00041 Tr. 10/13/2021 at 37 (“As other judges on this court have

recognized, democracy requires the cooperation of the citizenry. Protesting in the Capitol, in a

manner that delays the certification of the election, throws our entire system of government into

disarray, and it undermines the stability of our society. Future would-be rioters must be



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deterred.”) (statement of Judge Nichols at sentencing).

           The gravity of these offenses demands deterrence. This was not a protest. See United States

v. Paul Hodgkins, 21-cr-188-RDM, Tr. at 46 (“I don’t think that any plausible argument can be

made defending what happened in the Capitol on January 6th as the exercise of First Amendment

rights.”) (statement of Judge Moss). And it is important to convey to future potential rioters—

especially those who intend to improperly influence the democratic process—that their actions

will have consequences. There is possibly no greater factor that this Court must consider.

           Specific Deterrence

           Wiedrich’s words on January 6th, his FBI interview, and his statements on social media

clearly demonstrate the need for specific deterrence for this defendant. Wiedrich celebrated the

violence at the Capitol on January 6 by posting videos where he cheered on his fellow rioters.

After the attack, Wiedrich downplayed the violence on Snapchat, comparing it favorably to Black

Lives Matters protests. In his FBI interview, he claimed he was proud that he participated in the

“rally”.

           The government acknowledges that Wiedrich accepted responsibility early by entering into

this plea agreement. On the other hand, his failure to acknowledge the dangers and violence of

January 6, 2021, his spreading of false propaganda relating to the attack on the Capitol, and his

lack of remorse underscore the need for specific deterrence in this case.

              E. The Need to Avoid Unwarranted Sentencing Disparities

           As the Court is aware, the government has charged hundreds of individuals for their roles

in this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors, such as

in this case, to assault on law enforcement officers, to conspiracy to corruptly interfere with




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Congress. 2 Each offender must be sentenced based on their individual circumstances, but with the

backdrop of the January 6 riot in mind. Moreover, each offender’s case will exist on a spectrum

that ranges from conduct meriting a probationary sentence to crimes necessitating years of

imprisonment. The misdemeanor defendants will generally fall on the lower end of that spectrum,

but misdemeanor breaches of the Capitol on January 6, 2021 were not minor crimes. A

probationary sentence should not become the default. 3 “I don’t want to create the impression that

probation is the automatic outcome here because it’s not going to be.” United States v. Anna

Morgan-Lloyd, 1:21-cr-00164 (RCL), Tr. 6/23/2021 at 19 (statement of Judge Lamberth at

sentencing).

       The sentencing courts have already made meaningful distinctions between offenders.

Those who engaged in felonious conduct are generally more dangerous, and thus, treated more

severely in terms of their conduct and subsequent punishment. Those who trespassed, but engaged

in more aggravating factors, merit serious consideration of institutional incarceration. Those who

trespassed, but engaged in less serious aggravating factors, deserve a sentence more in line with

minor incarceration or home detention.


2
  Attached to this sentencing memorandum is a table providing additional information about the
sentences imposed on other Capitol breach defendants. That table also shows that the requested
sentence here would not result in unwarranted sentencing disparities.
3
  Early in this investigation, the Government made a very limited number of plea offers in
misdemeanor cases that included an agreement to recommend probation in United States v. Anna
Morgan-Lloyd, 1:21-cr-00164(RCL); United States v. Valerie Elaine Ehrke, 1:21-cr-
00097(PFF); United States v. Donna Sue Bissey, 1:21-cr-00165(TSC), United States v. Douglas
K. Wangler, 1:21-cr-00365(DLF), and United States v. Bruce J. Harrison, 1:21-cr-00365(DLF).
The government is abiding by its agreements in those cases, but has made no such agreement in
this case. Cf. United States v. Rosales-Gonzales, 801 F.3d 1177, 1183 (9th Cir. 2015) (no
unwarranted sentencing disparities under 18 U.S.C. § 3553(a)(6) between defendants who plead
guilty under a “fast-track” program and those who do not given the “benefits gained by the
government when defendants plead guilty early in criminal proceedings”) (citation omitted).


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       For one thing, although all the other defendants discussed below participated in the Capitol

breach on January 6, 2021, many salient differences—such as how a defendant entered the Capitol,

how long he or she remained inside, the nature of any statements he or she made (on social media

or otherwise), whether he or she destroyed evidence of his participation in the breach, etc.—help

explain the differing recommendations and sentences. And as that discussion illustrates, avoiding

unwarranted disparities requires the courts to consider not only a defendant’s “records” and

“conduct” but other relevant sentencing criteria, such as a defendant’s expression of remorse or

cooperation with law enforcement. See United States v. Hemphill, 514 F.3d 1350, 1365 (D.C. Cir.

2008) (no unwarranted disparity regarding lower sentence of codefendant who, unlike defendant,

pleaded guilty and cooperated with the government).

       Moreover, assessing disparities, and whether they are unwarranted, requires a sufficient

pool of comparators. In considering disparity, a judge cannot “consider all of the sentences not yet

imposed.” United States v. Godines, 433 F.3d 68, 69–71 (D.C. Cir. 2006). “The most a judge can

do is consider those other sentences that do exist,” and “[t]he comparable sentences will be much

smaller in the early days of any sentencing regime than in the later.” Id.; see generally United

States v. Accardi, 669 F.3d 340, 346 (D.C. Cir. 2012) (“Without more, two allegedly similar cases

constitute too small a sample size to support a finding of an ‘unwarranted disparity’ in sentences.”).

In cases for which the Sentencing Guidelines apply, “[t]he best way to curtail ‘unwarranted’

disparities is to follow the Guidelines, which are designed to treat similar offenses and offenders

similarly.” United States v. Bartlett, 567 F.3d 901, 908 (7th Cir. 2009). See id. (“A sentence within

a Guideline range ‘necessarily’ complies with § 3553(a)(6).”).

       Sentencing courts are permitted to consider sentences imposed on co-defendants in

assessing disparity. E.g., United States v. Knight, 824 F.3d 1105, 1111 (D.C. Cir. 2016); United



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States v. Mejia, 597 F.3d 1329, 1343-44 (D.C. Cir. 2010); United States v. Bras, 483 F.3d 103,

114 (D.C. Cir. 2007). The Capitol breach was sui generis: a mass crime with significant

distinguishing features, including the historic assault on the seat of legislative branch of federal

government, the vast size of the mob, the goal of impeding if not preventing the peaceful transfer

of Presidential power, the use of violence by a substantial number of rioters against law

enforcement officials, and large number of victims. Thus, even though many of the defendants

were not charged as conspirators or as codefendants, the sentences handed down for Capitol breach

offenses is an appropriate group for purposes of measuring disparity of any future sentence.

       While no previously sentenced case contains the same balance of aggravating and

mitigating factors present here, the Court may also consider the three-month prison sentence

imposed on Robert Reeder (1:21-CR-00166-TFH) for reference. The United States recommended

6 months incarceration in that case. Although he engaged in no direct violence against police or

property, defendant Reeder twice breached the Capitol, remaining inside for approximately a half

hour; he recorded videos bragging about his unlawful conduct; he was tear gassed and shot with

pepper balls; he chanted “Fight for Trump”; he filmed an officer being assaulted; and claimed that

he “battle[d] the police.”

       The Court may also consider the 30-day prison sentence imposed on Gracyn Courtright

(1:21-CR-00072-CRC). The United States also requested a sentence of 6 months incarceration in

that case. Defendant Courtright reached the Senate floor; while inside the Capitol she picked up

and carried around a “Members Only” sign which she only returned after being ordered to do so

by law enforcement on her way out of the Capitol; she witnessed rioters damaging property and

attempting to break into locked doors as soon as she entered the Capitol and continued to walk

inside; she posted on her social media in posts that evidence a total lack of remorse and falsely



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downplayed the violence of January 6 (including a post to Instagram with the caption “Infamy is

just as good as fame. Either way I end up more known. XOXO”); and while inside she, along with

a large mob, chanted at a line of law enforcement “whose house, our house” and “USA.”

         In any event, the goal of minimizing unwarranted sentencing disparities in § 3553(a)(6) is

“only one of several factors that must be weighted and balanced,” and the degree of weight is

“firmly committed to the discretion of the sentencing judge.” United States v. Coppola, 671 F.3d

220, 254 (2d Cir. 2012). The § 3553(a) factors that this Court assesses are “open-ended,” with the

result that “different district courts may have distinct sentencing philosophies and may emphasize

and weigh the individual § 3553(a) factors differently; and every sentencing decision involves its

own set of facts and circumstances regarding the offense and the offender.” United States v.

Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an

appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095.

   VI.      Conclusion

         Sentencing requires the Court to carefully balance the § 3553(a) factors. As explained

herein, several of those factors support a sentence of incarceration.. Balancing these factors, the

government recommends that this Court sentence Wiedrich to three-months incarceration, three

years’ probation, and $500 restitution. Such a sentence protects the community, promotes respect




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for the law, and deters future crime by imposing restrictions on his liberty as a consequence of his

behavior, while recognizing his early acceptance of responsibility.

       The United States has no objection to the public release of the above-referenced videos that

will be electronically provided to the Court in this case.

                                               Respectfully submitted,

                                               MATTHEW GRAVES
                                               UNITED STATES ATTORNEY



                                       By:
                                               JACOB J. STRAIN
                                               Utah Bar No. 12680
                                               Assistant United States Attorney
                                               U.S. Attorney’s Office for the District of Columbia
                                               555 4th Street, N.W.
                                               Washington, D.C. 20530




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